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                           EXHIBIT 19
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 From:               William C. McCorriston
 To:                 Kenneth M. Sorenson (ken.sorenson@           ); Keller, John (CRM); Lowell, Abbe
 Subject:            Nickie Mali Lum Davis
 Date:               Thursday, August 27, 2020 6:19:27 PM
 Attachments:        image001.png



If it has to be in a public document, maybe the following, more benign language, works:

“The defendant understands that the United States Department of Justice has raised with one of
her attorneys, Abbe D. Lowell, his previous representation of certain individuals with whom Ms.
Davis also has had contact or interactions and whose names have or might come up during her
cooperation and of certain other individuals on matters unrelated to Ms. Davis. Ms. Davis has
discussed these issues and the resulting potential for conflicts of interest with Mr. Lowell and with
third-party counsel and knowingly and intelligently waives any potential or actual conflict of
interest as to Mr. Lowell and affirms that she wishes to proceed with Mr. Lowell as one of her
attorneys in this matter.”

Bill

                                  William C. McCorriston
                                  Founding Partner
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